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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

   UNITED STATES OF AMERICA                )
                                           )
   v.                                      ) CRIMINAL NO. 22-CR-00152-CG
                                           )
   DAVID LEE JONES                         )


                       FINAL ORDER OF FORFEITURE

         This matter is before the Court upon the United States’ Motion for a

   Final Order of Forfeiture for the following property:

         A Smith & Wesson, Model Bodyguard, .380 caliber pistol

         bearing serial number KFE5008; and

         Six (6) rounds of .380 caliber ammunition

         The Court finds that the motion is due to be GRANTED, for the

   reasons set forth therein and as set out below:

         On November 7, 2022, the United States filed a motion for preliminary

   order of forfeiture for the firearm and ammunition. (Doc. 28, PageID.76-80).

   In that motion, the United States established the defendant’s interest in the

   property and the nexus between the property and the defendant’s conviction

   on Count One of the Indictment. On November 8, 2022, pursuant to 18 U.S.C.

   § 924(d), Title 28 U.S.C. § 2461(c) and Fed. R. Crim. P. 32.2(b), the Court

   entered a preliminary order of forfeiture for the firearm and ammunition.

   (Doc. 29, PageID.84-87)
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          In accordance with the provisions of 21 U.S.C. § 853(n) and Fed. R.

   Crim. P. 32.2(b)(6), the United States published notice of the forfeiture, and

   of its intent to dispose of the firearm and ammunition, on the official

   government website, www.forfeiture.gov, beginning on November 15, 2022,

   and ending on December 14, 2022. (Doc.42, PageID.140-144). The publication

   gave notice to all third parties with a legal interest in the property to file

   with the Clerk of the Court, 155 St. Joseph Street, Mobile, AL 36602, and a

   copy served upon Assistant United States Attorney Gina S. Vann, 63 South

   Royal Street, Suite 600, Mobile, AL 36602, a petition to adjudicate their

   interest within 60 days of the first date of publication. No third party filed a

   petition or claimed an interest in the property, and the time for filing any

   such petition has expired.

          Further, pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), forfeiture of the

   firearm and ammunition became final as to the defendant, David Lee Jones,

   at the time of sentencing and was made a part of the sentence and included

   in the judgment. (Doc. 40, PageID.135)

          Thus, the United States has met all statutory requirements for the

   forfeiture of the firearm and ammunition, and it is appropriate for the Court

   to enter a final order of forfeiture.

          NOW, THEREFORE, the Court having considered the matter and

   having been fully advised in the premises, it is hereby ORDERED,

   ADJUDGED and DECREED that for good cause shown, the United States’

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   motion is GRANTED. Under 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c) and

   Fed. R. Crim. P. 32.2(c)(2), all right, title, and interest in the firearm and

   ammunition is CONDEMNED, FORFEITED and VESTED in the United

   States for disposition according to law; and,

         IT IS FURTHER ORDERED that the Bureau of Alcohol, Tobacco,

   Firearms and Explosives or other duly authorized federal agency take the

   firearm and ammunition into its secure custody and control for disposition

   according to law; and,

         IT IS FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7),

   the United States of America has clear title to the firearm and ammunition

   and may warrant good title to any subsequent purchaser or transferee; and,

         IT IS FURTHER ORDERED that the Bureau of Alcohol, Tobacco,

   Firearms and Explosives or other duly authorized federal agency is hereby

   authorized to dispose of the firearm and ammunition in accordance with the

   law; and,

         IT IS FURTHER ORDERED that the Court shall retain jurisdiction

   in this case for the purpose of enforcing this Order.

         DONE AND ORDERED this 5th day of April, 2023.

                              /s/ Callie V. S. Granade
                              SENIOR UNITED STATES DISTRICT JUDGE




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